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                       UNITED STATES DISTRICT COURT
                       EASTERN DISTRICT OF LOUISIANA

 IN RE: OIL SPILL by the OIL RIG                                                       MDL-2179
 “DEEPWATER HORIZON” in the GULF
 OF MEXICO, on APRIL 20, 2010
 THIS DOCUMENT RELATES TO:                                                          SECTION J
 ALL ACTIONS                                                              JUDGE BARBIER
                                                                    MAG. JUDGE SHUSHAN

                                         ORDER

       IT IS HEREBY ORDERED that the Mississippi Attorney General’s Motion for

Leave to File a Memorandum in Excess of Page Length in Support of the State of

Mississippi’s Statement of Interest and Request for Relief, filed pursuant to § 1715 of the

Class Action Fairness Act of 2005, is GRANTED.

       The Clerk of the Court is ordered to file the Memorandum attached to the

Mississippi Attorney General’s Statement of Interest and Request for Relief into the

record in the captioned case.

     New Orleans, Louisiana, this ____ day of ___________, 2012.


                                         _____________________________________
                                            UNITED STATES DISTRICT JUDGE
